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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0283V
                                    Filed: October 27, 2017
                                        UNPUBLISHED


    MARLA KRAMER,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Hepatitis A (Hep A)
    SECRETARY OF HEALTH AND                                  Vaccine; Shoulder Injury Related to
    HUMAN SERVICES,                                          Vaccine Administration (SIRVA)

                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
       respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On February 28, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered right shoulder injuries and neuralgia
of the right upper extremity caused by the influenza (“flu”) and Hepatitis A (“Hep A”)
vaccinations she received on February 2, 2016. Petition at 1, ¶¶ 2, 14. Petitioner
further alleges that she received the vaccinations in the United States, suffered the
residual effects of her injuries for more than six months, and neither she nor any other
party has filed any action or received any compensation for petitioner’s injuries alleged



1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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as vaccine caused. Id. at ¶¶ 14-16. The case was assigned to the Special Processing
Unit of the Office of Special Masters.
        On October 27, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “believes that petitioner’s alleged injury is consistent with
a shoulder injury related to vaccine administration (“SIRVA”) and that it was caused-in-
fact by the Hepatitis A vaccine she received on February 2, 2016.” Id. at 6.
Respondent further agrees that “based on the record as it now stands, petitioner has
satisfied all legal prerequisites for compensation under the Act.” Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
